Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 1 of 10



                            UNITED STATES DISTRJCT COURT
                            SO U THERN D ISTRICT OF FLO RID A

                        CASE NO:11-23831-CV-COOKE/TURN OFF

 ROBERT RO BIN S,

        Plaintiff,
 V S.

 THE TOW ERS OFQUAYSIDE NO 1
 CONDOM m IUM ASSOCIATION ,IN C.,

        Defendantts),
                                          /

                           REPORT AND RECOM M ENDATION

        THISCAUSE isbeforetheCourtuponDefendant'sUerWc#M otiontoTaxCostsIDE75l,
 Defendant'sM otion forAttorney'sFeesand Non-Taxable CostsIDE831,and apriorOrderof
 Referralentered bythe HonorableM arciaG.Cooke.IDE701.1 A hearingon thesematterstook
 placebeforethe undersigned on October17,2013.

        Uponreview oftheMotionsIDE291,theResponses,thecourtfile,hemingargumentfrom
 counsel,and consistentwiththereasonsstated in open Court,theundersignedRESPECTFULLY

 REcoM M ENDsthatDefendant'sMotions1DE75,831IXGRANTED-IN-PART andDENIED-
 IN -PA R T.

                                       1. Background

        Thisaction wasfiled by Plaintiff,RobertRobins(éiplaintiff),againsthiscondominium



        l'rheCoul'tnotesthatshortly afterthereferral,Plaintifffiled aM otion for
 Reconsideration ofJudgeCooke'sOrderon SummaryJudgment.IDE721. Assuch,theinstant
 MotionsIDE75,831,regarding feesandcosts,didnotbecomeripeforreview untilJudge
 Cooke'srulingonPlaintiffsM otionforReconsideration September30,2013.IDE871.
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 2 of 10



 association,theTowersofQuaysideNo.1Condominium Association(tiDefendanf).IDEII.The
 Complaintalleges,am ong otherthings,violation oftheFairHousingAct,asamended,42 U.S.C.

 j3601,etseq.(tçtheAct''). Bywayofsummary,PlaintiffrequestedthatDefendantallow his
 em otionalsupportpet/anim alto rem ain on the condominium 'sprem isesdespite the factthatthe

 association'spoliciesprohibitpetsofhersize.z Id.

        TherecordshowsthatPlaintifffoundhisdog,whom henamedChina,ataChineserestaurant

 duringtheChineseNew Year.Def.'sStmt.Facts!5.IDE 361. HeadoptedChina,andtook her
 hometohiscondominium unit. k tShortly thereafter,on oraboutFebruary2,2009,Defendant
 advisedPlaintiffthatChinaexceededtheweightlimitoftwenty(20)pounds.Ld=.at!7.Inresponse,
 Plaintiff asserted,for the first time, that he required the dog due to m edical reasons. Id.

 Subsequently,Plaintiffproduceddocum entationfrom hisphysicianindicatingthatPlaintiffsuffered

 from depression and that a dog was recom mended in order to,am ong other things,Stbolster

 (Plaintifps)selfesteem.'' ld. Plaintiffalsosubmitted adiReasonable Accommodation Request
 VerificationForm ''seekingpermissiontokeep hispetasanem otionalsupportanimal.Thisrequest

 wasinitiallygranted. Id.at!8.A few yearslater,however,onJune13,2011,Defendantaskedthat
 thedogberemovedduetoseveralcomplaintsfrom otherresidents.J-tlsat!510-16.Thecomplaints
 included,interalia,incidentsofbitingandattackingotherpets.Id.at! 8.
       Thisaction followed on October25,2011.IDE201. In Count1,Plaintiffallegesthat
 Defendant discrim inated against him on the basis of his disability by failing to m ake an

 accom m odation forhisservice anim al.Id.In Countll,PlaintiffallegesthatD efendantviolated the


       zDefendantperm itseach unitownerto have onecatoronedogthatweighsnom orethan
 twenty(20)pounds.DepsStmt.Facts!2.IDE36I.Plaintiffsdogweighssixtypounds.J=.at!
 6,

                                              2
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 3 of 10



 Actbycoercing,intimidating,threatening,gand/or)interferingwithghis)exerciseandenjoymentof
 hisfairhousing rights..,''Id.

                                   Il. Sum m ary Judgm ent

        JudgeCookeenteredsummaryjudgmentinfavorofDefendantonNovember28,2012,and
 found thatPlaintifffailed to meethisburden asto the firstelementofaprimafacie case of
 discrimination.IDE68I. ln otherwords,Plaintiffhad failed to show thathe isdisabled or
 handicappedwithinthemeaningoftheAct.Id.Specifically,theCourtfoundthatttltlherecordis
 devoidofanyevidencethatdem onstratesthatPlaintiffsuffersfrom aphysicalorm entalim painnent

 thatsubstantially limitsoneormoreofhismajorlifeactivities.'' 1d. In thisconnection,Judge
 Cooke noted that Plaintiff actually hindered Defendant's efforts to inquire about his alleged

 disability.1Z Alongthesesamelines,theCourtfoundthattherewasnorecordevidencetosuggest
 thatChina,asopposedto someothermechanism oranimal,çsam elioratedany ofPlaintiffsasserted

 disabilities.''1d. M ostimportantly,theCourthighlightsthefactthatPlaintiffsSlhappenschance

 discoveryofChina...beliesghisqlaterclaimsof(the)necessityof(her)asaserviceanimalonly
 when theAssociation cautionedhim abouthisviolation.''1d.Ofequalimportance,theCourtfound

 no evidencethatPlaintiffwasthreatenedwith hann,evictionorany othersimilaraction.LcL ln
 otherwords,Defendant'sbanning ofChinafrom theprem ises,did notconstituteathreat,nordoes

 itcreateacauseofaction.Plaintiffmoved forreconsideration onDecember20,2012.IDE721.
 Judge Cooke denied same on September 30,2013. IDE871. This matter is now ripe for
 consideration.

                       111. D efendant'sV erified M otion to Tax C osts

        Defendantarguesthat,astheprevailingparty,itisentitledto an award ofcosts. Defendant
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 4 of 10



 hassubm itted aBillofCostsin theam ountof$4,970.15.Thecostsareasfollows:photocopiesof

 medicalrecords($13.50),depositionfeesandtranscripts($3,941.65),witnessfees($ 1,015.00)
 (generalwitnessfees$40;service fees$35 forDade County;servicefees$45 forPalm Beach
 County).
        Plaintiffargues,am ong otherthings,thatDefendantwasnottheprevailing party underthe

 Act. First,Plaintiffclaim sthattheActrequiresashowing offrivolityin orderto recovercosts.

 Totheextentthatanycostsareallowed,Plaintiffalternativelysuggeststhattheyshouldbereduced.

 Specifically,Plaintiffobjectstoadditionalchargesassociated with thedepositiontranscripts,i.e.,
 shipping,handlingandpackaging.IDE82l. Plaintiffalsoseeksadeductionforthecourtreporter's
 attendancefees.L(L
        TheFairHousing Actperm itsthecourtto award reasonablecoststo the prevailing party.

 42U.S.C.j36134c) (2)((i)nacivilactionundersubsection (a),ofthissection,thecourt,in its
 discretion,mayallow theprevailingparty,otherthantheUnitedStates,reasonablecosts);seealso,
 Barkerv.NilesBoltonAssociates.Inc.,2009W L 500719(11tbCir.M ar.2,2009).Here,Defendant
 isno doubttheprevailing party,and thusisentitled to recovercosts.

        Astocourtreporterappearancefees,judgesinthisdistricthavefoundthatsameareproperly
 taxable,because they directly related to the preparation ofthe transcript. Joseph v.N ichell's

 Caribbean Cuisine.lnc,,No.11-62594-C1V,2013W L 2929464,at*3(S.D.Fla.June12,2013).
 However,absent a showing of necessity,costs associated with the delivery and handling of

 transcriptsaretypically denied. Robinson v.Alutig-M ele.LLC,643 F.supp.2d 1342,1354-55

 (S.D.Fla.zoogltshipping and handlingchargesbythe stenographerarenottaxable);Suarez v.
 TremontTowing.1nc.,No.07-21430-C1V,2008W L 2955123,*3(S.D.Fla.Aug.1,zoo8ltcourier,

                                              4
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 5 of 10



 handlinganddeliverychargesbycourtreporterarenottaxable).
        Thefollowing chargesappearto beum ecoverable:

        StrumwasserDepo      $65    $35CD & e'rranscript,$15word index & condensedtranscript
                                    $15shipping& handling
        DepkinDepo           $15    W ord index & condensedtranscript
        CimettaDepo          $23    Shipping& handling
        PinnockDepo          $72    $15shipping& handling
                                    $35CD & e'rranscript
                                    $22 word index& condensedtranscript
       YeshuaDepo            $65    $35CD & e' rranscript
                                    $15wordindex& condensedtranscript
                                    $15shipping& handling
        Lehrman Depo       $20.10   $15wordindex& condensedtranscript
                                    $5.10tabs
        RobbinsDepo       $76.76    $22.55wordindex& condensedtranscript
                                    $35CD & e' rranscript
                                    $4.25tabs
                                    $l5shipping& handling
        EspteinDepo          $40    $17scannedexhibits
                                    $23 shipping& handling
       CarrDepo        $27.25       $4.25scannedexhibits,$23shipping& handling
       AugustDepo      $28.95       $5.95scannedexhibit& OCRED,$23 shipping & handling


       Plaintiffalsotakesissuewith acopying invoicein theamount $12.74.Theinvoicedoesnot
 explainwhatdocumentswerecopied.Theinvoiceonlynotesdsheavylitigation,''and is,therefore,

 insufficient under the rules. Consistentwith the above,the undersigned RESPECTFULLY

 RECOM M ENDSthatDefendantbeawardedreducedcostsintheamountof$4,508.14(reduction
 = $462.01).
            IV. Defendant'sM otion forAttorney'sFeesand Non-TaxableCosts

                                       A. Entitlement

       Defendantarguesthatitisentitled to fees,astheprevailingparty,undertheAct.Defendant

 contendsthatitwasforced to spenda significantnm ountoftim eandm oney to defend thisaction.

 Inthisconnection,Defendanthassubmitted afeerequestintheamountof$74,860.00.IDE83-11.

                                             5
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 6 of 10



 AttorneyLaFlamm esubmitted 132.6hours.Attorney Swenkasubm itted241hours.Thehourlyrate

 requestedforbothattorneys is$200. IDE831. Inadditiontotheattorney'sfees,Defendantseeks
 $1,029.30 in non-taxable costsforwhatappearsto bea hearing transcript($461.30),and fees
 associatedwithmediation($568).Id.
        PlaintiffopposestheM otion,and claims,am ong otherthingsthatsam e isuntimely under

 Fed.R.CiV.P.54,becauseitwasnotbroughtwithin fourteen (14)days. IDE851. Plaintiffalso
 suggests thatatleastone ofthe fee bills subm itted ism arked as Stsample''and çiunbilled.'' Id.

 Becauseofthis,Plaintiffsuggeststhatanyattorney'sfeeawardedshouldbereducedby theam ount

 ofthebillsm arked 'tsam ple''orf'unbilled,''i.e.,$15,000.3
        TheEleventh Circuithasheld thatatim ely motion toalteroram end thedistrictcourt's

 judgment,suchastheonefiledhere,actstosuspend thetimefortheprevailingpartytomovefor
 an award of attorney's fees. ln this connection,a timely tiled motion for reconsideration is

 considered and/ortreated asa Fed.R.CiV.P.59(e)motion to alterjudgment, Preieto v.Storer
 Communiçations.lnc.,152F.R.D.654,(M .D.Fla.1994);seealso,M embersFirstFederalCredit
 Unign v.MembersFirstCreditUnionofFlorida,244 F.3d 806 (11tbCir.2001)(atimelyRule59

 motiontoalteroramendjudgmentoperatestosuspendthefinalityofthedistrictcourt'sjudgment
 pendingthecourt'sfurtherdeterminationofwhetherthejudgmentshouldbemodified,soastoalter
 itsadjudication oftherightsoftheparties). Hence,Plaintiffsargumentasto timelinessfails.
        Generally speaking,theActperm itsacourttoawardattom ey'sfeesto theprevailingparty

 attheCourt'sdiscretion.42U.S.C.j3613.However,prevailingpartyfeeawardsundertheAct,
 although discretionary,are notaw arded asa m atterofcourse. A party seeking feesunderthe A ct


        3In Court,defensecounselproffered thatthebills,assubm itted,arein finalform .

                                                6
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 7 of 10



 m uch show thatthe claim swere i'frivolous,unreasonable,orwithoutfoundation.'' Sullivan v.

 SchoolBoardofPinellasCounty,773F.3d1182,1188(11thCir.1985).InSullivan,the11thCircuit
 setoutthreefactorstoconsiderin determiningwhetheraclaim isfrivolous;theyare:(1)whether
 theplaintiffestablished aprimafacie case;(2)whetherthedefendantoffered to settle;and (3)
 whetherthetrialcourtdism issedthecasepriorto trial,orheld afull-blown trialonthem erits. ld.

 at1189. Determ inationsoffrivolityareto bem adeon a caseby casebasis.Tufaro v.W illie,756

 F.Supp.556,561(S.D.Fla.1991).Inmakingsuch adetermination,acourtshouldnotfocuson
 whether the claim wasultim ately successful,buton whetheritw as so lacking in m eritasto be

 groundless.Ld= Consistentwiththefactsand findingsnotedabove,theundersignedfindsthatthe
 testhas easily been m et. ln so tinding,the Courthasconsidered allof Plaintiff's argum ents,

 includingthesupplem entalfilingsasto Dr.Strnmwasserand hisdeposition.

        First,Plaintifffailedtoestablishaprimafaciecase.Second,defensecounselhasproffered
 thatoffersto settle were made. ln thisconnection,therecord showsthatm ediation took placeon

 October18,2012.IDE501.Duringthehearing,thepartiesdisagreedastowhatofferswereactually
 m ade.Sufficeitto saythat,withoutdisclosingconfidentialm atters,defensecounselprofferedthat

 Defendantoffered to allow the dog to remain ifitwas ç$tethered to a wagon''while outin the

 comm on areas. A fairlyreasonablerequest,inthisCourt'sview,giventhecom plaints,andChina's

 pastbehavior.ThepartiesalsodisagreeastowhetherornotDefendant'sofferrequiredthepayment,

 by Plaintiff,ofDefendant'sattonwy'sfees- inwholeorinpart.Thirdly,asretlected above,Judge

 Cookeentered SummaryJudgmentin favorofDefendant. lnotherwords,thiscaseneverreached

 ajury. Consistentwiththeabove,andapplyingthe1aw tothefactsofthiscase,theundersigned
 findsthatD efendantisentitled to recoverattom ey's fees.


                                               7
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 8 of 10



                                          #. Am ount

        Having foundthatDefendantisentitledtoanawardofattom ey'sfees,wem ustnow address

 theissueofamount.Asageneralmatter,apartyseekingfeesbearstheburden ofdemonstratingand

 docum entingthereasonablehoursand rates. In otherwords,them oving party m ustshow billing

 judgmentandsubmitdetailedevidenceofthetimeexpended.ACLU v.Barnes,168F.3d423,427
 (11thCir.1999). UsingthelodestarmethodappliedinthisCircuit,attom ey'sfeesarecalculated
 by multiplying a reasonable hourly rate by a reasonable numberofhoursexpended. Norman v.

 HousincAuth.ofMontgomery,836F.2d 1292,1299(11thCir.1988).
        1. Rates

        Asnoted above,therequestedrateis$200 perhour.Plaintiffhasnotopposedthatamount.
 ltiswell- settled thatthe courtitself is an experton these issues,and may considerits own

 knowledge and experienceconcerning reasonable and properfees. Norman,836 F.2d at 1303.

 Consistentwith theabove,theundersigned findsthattherequested ratesarefair,appropriate,and

 in keepingwith theprevailing marketratesin thisdistrict.

        J. H ours

        Asnoted supra,Defendantsseek $74,860 in attorney'sfees-representing over373.6hours
 ofbilled work. Upon carefulconsideration,theundersigned findsthatDefendant'ssubm ission is

 somewhatexcessive. Specifically,the recordsshow salotofduplication between M s.LaFlam me

 andM s.Swenka'sbillingentries.Forexample,M s.Swenkabilledapproxim ately4.2hoursforthe

 preparation ofinitialdiscoveryto Plaintiff.M s.LaFlem me billed roughly anothertwo hours. Six

 hoursforwhatweremostlikely form interrogatories. The subm issionsalso reflectduplication as

 to the preparation of initial disclosures, and m atters related to non-party subpoenas. Other


                                              8
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 9 of 10



 duplicative entries relate to the review,assessment,and preparation ofresponses to Plaintiffs

 M otionforProtectiveOrderand M otiontoQuash,aswellastheredactionand productionofDr.
 Strumwasser'smedicalrecords.IDE83-11.Again,thesearejustafew examples,ofmany,where
 itappearsthatboth attorneyswereunnecessarilypreparing for,and/orworkingon,thesametasks.

        ln thesescenarios,theCourtm ay reduce hourswhereitdetenninesthatm ultipleattorneys

 wereunnecessarilyorneedlesslyused.St.Fleurv.CityofFt.Lauderdale,149F.App'x849(11tb
 Cir.2005);Hepsenv.J.C.Christensen & Associates.lnc.,2010 W L 3329836 (11thCir.Aug.25,
 2010).Inreducingexcessivefees,thecourtmayconductanhour-by-houranalysisorelecttoreduce
 feesbyusing an across-the-board method to avoidûdpick and shovelwork.''Bivensv.W rap ltUp.

 Incv,548 F.3d 1348,1351. In otherwords,a line-by-line analysis isnotnecessary. Truiillo v.

 BancoCentraldelEcuador,229F.supp.1369,1375 (S.D.FIa.2002).ltissufficientforthecourt
 toprovideaconcisebutclearexplanationofitsreasonsforthereduction.Loranger,10F.3dat783.

        Here,theundersignedrecognizesthatPlaintiffcreatedthislitigation,andthatDefendantwas

 forced to defend itself.However,them atterathand wasnotterriblycomplicated and did nottake

 too longto bedisposed ofsumm arilyin Defendant'sfavor.Again,thisactionwasfiled in October

 2011,andsummaryjudgmentwasgrantedayearlaterinNovember2012.
                                    V . R ecom m endation

       Upon carefulreview ofthe entire record,and consistentw ith the above,theundersigned

 RESPECTFULLY RECOM M ENDS thatDefendantbeawarded reduced feesin the amountof

 $56,145 -representing atwenty-ûve (25) percentreduction ofthe originalsubmission. Itis
 FU R TH ER R ESPECTFULLY REC O M M END ED thatDefendant'srequestforreim bursem ent

 ofnon-taxable costsbe DEN IED .

                                              9
Case 1:11-cv-23831-MGC Document 91 Entered on FLSD Docket 11/04/2013 Page 10 of 10



        Pursuantto28U.S.C.j636(b)(1)(c),thepartiesmayfilewrittenobjectionstothisReportand
 Recom m endation withtheH onorableM arcia G .Cooke,United StatesDistrictJudge,w ithin fourteen

 (14)daysofreceipt.Failuretofiletimelyobjectionsshallbarthepartiesfrom attackingonappealany
  factualfindingscontainedherein.RTC v,HallmarkBuilders.Inc.,996F.2d 1144,1149,reh'gdenied,

  7F.3d242(11thCir.l993)9Locontev.Dugzer,847F.2d745(11thCir.1988),cert.denied,488U.S.
                                                                                 4. .
  958,109S.Ct.397(1988).
        RESPECTFULLY RECOM M ENDE ln UhambersatM iami oridaon this                      day of

  November2013.                                                          %   .
                                                           u .       (
                                            W ILLIA M C .TU RN O FF
                                            UN ITED STA TES M A G ISTM TE JU D G E


  CC'   Hon.M arciaG .Cooke
        CounselofRecord




                                               10
